D. Name and Adéeess-of BqTHOD.A7-CSS

HUSSAIN KAREEM
2197 CARLYSLE CREEK DRIVE
LAWRENCEVILLE, GA 30044

D& Nemeand Address feHetet 01/20/11 P

exnboit 2403

\t tf
KENNESAW, GA 30144

AG NainepdnPAddress of Lender
AMERICAN BROKERS CONDUIT
225 TOWN PARK DRIVE, STE. 450

G. Property Location
2197 CARLYSLE CREEK DRIVE
LAWRENCEVILLE, GA 30044

H. Settlement Agent

GA CLOSING ASSOC, INC.-MICHAEL C. OBERTONE, ESQ PC

Place of Settlement
3615 Presidential Parkway, Suite 100
Atlanta, GA 30340

t. Settlement Date
07/07/06
DD: 07/12/06

J. SUMMARY OF BORROWER'S TRANSACTION:

K. SUMMARY OF SELLER'S TRANSACTION:

100. GROSS AMOUNT DUE FROM BORROWER

400. GROSS AMOUNT DUE TO SELLER

101. Contract sales price

401. Contract sales price

102. Personal property

402. Personal property

103. Settlement charges to borrower (line 1400) 4,273.30 | 403.
104. PAYOFF WAMU #0075472241 182,325.30 | 404.
105. PAY BENEFICIAL/HFC 287.00 | 405.

Adjustments for items paid by seller In advance Adjustments for items paid by seller In advance
106. City/town taxes to 406. CityMown taxes to
107. County taxes to 407. County taxes to
108. Assessments to 408. Assessments to
109. 409.

110. 410.
141. 411.
112. 412.
120. GROSS AMOUNT DUE FROM BORROWER 156,885.60 | 420. GROSS AMOUNT DUE TO SELLER

200. AMOUNTS PAID BY OR IN BEMALF OF BORROWER

500. REDUCTIONS IN AMOUNT TO SELLER

201. Deposit or eamest money

501. Excess Deposit (see instructions)

202. Principal amount of new foan(s)

159,200.00

502. Settlement charges to seller (line 1400)

0.1

503. Existing loans taken subject to

203. Existing loan(s) taken subject to

204. 504. Payoff of first mortgage loan
205. 505. Payoff of second mortgage loan
206. 506.

207. 507.

208. 508.

209. 509.

Adjustments for items unpaid by seller

Adjustments for items unpaid by seller

210. City/town taxes to 510. Cityfown taxes to
211. County taxes to 511. County taxes to
212. Assessments to 512. Assessments to
213. 513.
214. 514,
215. 515.
216. 516.
217. S17.
218. 518.
219. 519.
220. TOTAL PAID BY / FOR BORROWER 159,200.00 | 520. TOTAL REDUCTION AMOUNT DUE SELLER

300. CASH AT SETTLEMENT FROM OR TO BORROWER

600. CASH AT SETTLEMENT TO OR FROM SELLER

301. Gross amount due from borrower (line 120)

156,885.60

601. Gross amount due to seller (line 420)

302. Less amounts paid by/or borrower (line 220)

159,200.00

602. Less reduction amount due to seller (line 520)

303. CASH TO BORROWER

2,314.40

603. CASH TO SELLER

0.

__t. SETTLEMENT CHARGES: 2. PAID FROM PAID FROM
700._ TOTAL SALES/BROKER’S COMMISSION based on price $ e = ONDS Ar UNOS AT
FUNDS AT FUNDS AT
‘. Division of commission (line 700) as follows: SETTLEMENT SETTLEMENT
701. $ to
702. $ to
703. Commission paid at Settlement
704,
800. ITEMS PAYABLE IN CONNECTION WITH LOAN P.O.C.
801. Loan Origination Fee % GLOBAL MORTGAGE 350.24
802. Loan Discount %
803. Appraisal Fee to
804. Credit Report to
805. Lender's Inspection Fee fo
806. Underwriting Fee to
807. Assumption Fee to
808. Processing Fee GLOBAL MORTGAGE 495.00
809. Tax Service Fee AMERICAN BROKERS CONDUIT 92.00
810. Flood Cert. AMERICAN BROKERS CONDUIT 19.00
811. GA Res Mtg. Fee AMERICAN BROKERS CONDUIT 6.50
812. COMMITMENT FEE AMERICAN BROKERS CONDUIT 480.00
813. BROKER FEE GLOBAL MORTGAGE 1,000.00
814._ BROKER PREM. PD BY LENDER PD BY AMERICAN BROKERS TO GLOBAL MTG. §97.00L
815.
900. ITEMS REQUIRED BY LENDER TO BE PAID IN ADVANCE
901. Interest from 07/12/06 to ogo1e = $ 8.40 ‘day 20 day(s) 168.04
902. Mortgage insurance Premium . to
903. Hazard Insurance Premium 1 ys.to ALLSTATE 614.00B
904.
905.
1000. RESERVES DEPOSITED WITH LENDER FOR
1001. Hazard Insurance mo. @$ /mo.
1002. Mortgage insurance mo. @$ . /mo.
\003. City property taxes mo. @$ /mo.
004. County property taxes mo. @$ /mo.
005. Annual Assessments mo. @$ imo.
006. mo. @$ /mo.
007. mo. @$ /mo.
008. Aggregate Reserve for Hazard/Flood Ins, City/County Prop Taxes, Mortgage ins & Annual Assessments
100. TITLE CHARGES
101. Settlement or closing fee to
102. Abstract or title search to
103. Title examination t0__GEORGIA CLOSING ASSOCIATES, INC. 150.00
104. Title insurance binder to
105. Document preparation to
106. Notary fees to
107. Attorney's fees to_MICHAEL C. OBERTONE, ESQ.. P.C. 100.00
(includes above item No: )
108. Title insurance to__GCA AS AGENT FOR FIRST AMERICAN TITLE INC. 719.02
(inctudes above item No: )
109. Lender's coverage 175,120.00 --- 719.02
110. Owner's coverage
111. Courter Fee GEORGIA CLOSING ASSOCIATES, INC. 45.00
112. Tax Search Fee GEORGIA CLOSING ASSOCIATES, INC. 15.00
113. PAYOFF OVERNIGHT GEORGIA CLOSING ASSOCIATES, INC. 15.00
200. GOVERNMENT RECORDING AND TRANSFER CHARGES
201. Recording fees Deed $ ; Mortgage $_ ; Releases $
202. City/county/stamps Deed $ ; Mortgage $ _
203. State tax/stamps Deed $ ; Mortgage $ 478.50 478.50
204.
205.
300, ADDITIONAL SETTLEMENT CHARGES
301. Survey to
302. Pest inspection to
303. Record Documents GEORGIA CLOSING ASSOCIATES, INC. 70.00
304. Record Satisfactions GEORGIA CLOSING ASSOCIATES, INC. 20.00
305. QUITCLAIM DEED GEORGIA CLOSING ASSOCIATES, INC. 50.00
306.
407.

AG

